UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF KANSAS

In re: )
) Chapter 11
ABENGOA BIOENERGY BIOMASS OF )
KANSAS, LLC, ) Case No. 16-10446
)
Debtor. ) Judge Dale L. Somers
)

MOTION OF MARK D. KOZEL, AS LIQUIDATING TRUSTEE FOR THE ABBK
LIQUIDATING TRUST, TO CLOSE CHAPTER 11 CASE PURSUANT TO 11 U.S.C. §
350(A) AND BANKRUPTCY RULE 3022, AND TO SET DATE FOR THE
TERMINATION OF THE TRUST AND DISCHARGE OF THE TRUSTEE

Mark D, Kozel, as Liquidating Trustee (the “‘Trustee”) for the ABBK Liquidating Trust
(the “ABBK Trust”), files this motion (the “Motion”) seeking entry of a final decree, substantially
in the form attached hereto as Exhibit B (the “Final Decree”): (i) closing this Chapter 11 case (the
“Case”); (ii) setting March 30, 2021 as the date on which the ABBK Trust shall automatically
terminate and the Trustee shall automatically be discharged; and Gii)} providing certain related
relief. In support of this Motion, the Trustee respectfully states as follows:!

INTRODUCTION

1. Abengoa Bioenergy Biomass of Kansas, LLC (the “Debtor’”) was the owner of an
experimental bioethanol plant in western Kansas. Following massive cost overruns and
technological issues, the Debtor was pushed into an involuntary bankruptcy, converted that case
to a voluntary Chapter 11 bankruptcy, and proceeded to market its assets for sale. Initially, the
Debtor anticipated that the plant would be sold for scrap value, producing a recovery of only

pennies on the dollar for general unsecured creditors. Through the hard work of the Debtor and

the Official Committee of General Unsecured Creditors, the plant was sold following a competitive

 

! Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to them in the Plan

of Liquidation Pursuant to Chapter 11 of the Bankruptcy Code (Doc. 811) (the “Plan’).
1

Case 16-10446 Doc#1626 Filed 11/23/20 Page 1 of 19

 
auction for $48,500,000.00. After consensually resolving and paying substantial claims asserted
by numerous mechanics’ lien claimants, and resolving significant disputes with the Department of
Energy, the Debtor then proposed a liquidating plan to distribute the remaining sale proceeds to
the Debtor’s unaffiliated creditors.

2. Drivetrain, LLC, the post-confirmation liquidating trustee of several of the Debtor’s
affiliates in their own bankruptcy cases in Missouri, objected to the Debtor’s Plan and various
related requests for relief. Thereafter, the Debtor and the Committee—and, later, the Trustee—
engaged in litigation with Drivetrain, The estate prevailed in that litigation. Drivetrain appealed
several decisions made by Judge Nugent, including Judge Nugent’s order confirming the Plan.
The last of the appeals initiated by Drivetrain were recently resolved by final, non-appealable order
in favor of the Trustee. Thus, the Trustee will soon make a final distribution to general unsecured
creditors, bringing their total recovery to sixty-six percent (66%). With all assets of the ABBK.
Trust administered and the other duties of the Trustee substantially complete, all that remains is
for this Court to enter the Final Decree closing the Case, and setting a date on which the ABBK.
Trust shall terminate and the Trustee shall be discharged.

JURISDICTION

3, This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

4, Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

5. The statutory bases for the relief requested in this Motion are sections 105 and
350(a) of title 11 of the United States Code (the “Bankruptcy Code”), Bankruptcy Rule 3022, and

LBR 3022.1.

 

2 This recovery was paid out over the first interim distribution (50%), the second interim distribution (11.3%)

and the final distribution (4.8%), See Exhibit A at 7.

Case 16-10446 Doc#1626 Filed 11/23/20 Page 2 of 19

 
RELIEF REQUESTED

6. By this Motion, the Trustee respectfully requests entry of the Final Decree closing
the Case, and setting March 30, 2021 as the date on which the ABBK Trust shall automatically
terminate and the Trustee shall automatically be discharged.

BACKGROUND

7. On March 23, 2016, creditors filed an involuntary Chapter 7 bankruptcy case
against the Debtor in this Court. The Debtor’s case was later converted to a Chapter 11 case by
this Court’s order dated April 8, 2016 (Doc. 33).

8. On October 12, 2016, the Debtor filed the Motion of the Debtor for Entry of an
Order (D(A) Approving and Authorizing Bidding Procedures in Connection with the Sale of
Substantially All of the Debtor’s Assets, (B) Approving Stalking Horse Protections, (C) Approving
Procedures Related to the Assumption and Assignment of Certain Executory Contracts and
Unexpired Leases, (D) Approving the Form and Manner of Notice Thereof, and (II)(A) Authorizing
the Sale of Substantially All of the Debtor’s Asseis Free and Clear of all Liens, (B) Approving the
Assumption and Assignment of Certain Executory Contracts and Unexpired Leases Related
Thereto, and (C) Granting Related Relief (Doc. 467) (the “Sale Motion”).

9, The Sale Motion requested, among other things, authority to sell substantially all
the Debtor’s assets free and clear of all liens pursuant to certain bidding procedures. In accordance
with those bidding procedures, an auction was held on November 21, 2016 (the “Auction”). Synata
Bio, Inc. (the “Purchaser’”) was declared the successful bidder at the Auction.

10. On November 29, 2016, the Court entered the Order (A) Approving and

Authorizing the Sale of Substantially All of the Debtor’s Assets to Synata Bio, Inc, Free and Clear

 

3 The ABBK Trustee will complete certain duties and tasks that will remain to be accomplished post Final

Decree and, as applicable, following the close of the Trust, as detailed further in this Motion.

3

Case 16-10446 Doc#1626 Filed 11/23/20 Page 3 of 19

 
of All Liens, Claims, Encumbrances and Other Interests, (B) Approving the Assumption and
Assignment of Certain Executory Contracts and Expired Leases, and (C) Granting Related Relief
(Doc. 578) (the “Sale Order’).

11. Pursuant to the Sale Order, the Court authorized the Debtor to sell the Purchased
Assets (as defined in the Sale Order), free and clear of all liens, to the Purchaser. Among other
consideration received, the sale included cash consideration equal to $48,500,000.00, a portion of
which later became Liquidating Trust Assets.

12, On April 14, 2017, the Debtor filed the Plan.

13. On July 7, 2017, Drivetrain, LLC, as liquidating trustee for certain affiliates of the
Debtor in their separate bankruptcy cases in the United States Bankruptcy Court for the Eastern
District of Missouri, objected to confirmation of the Plan. See Doc, 931.

14, On October 15, 2017, the Debtor filed the Notice of Supplement to the Debtor’s
Plan of Liquidation (Doc, 1108) (the “Plan Supplement”). The Plan Supplement included a copy
of the Liquidating Trust Agreement (the “Liquidating Trust Agreement’’) and identified the Trustee
as the Liquidating Trustee,

15. On March 29, 2018, this Court entered the Order Confirming Debtor’s Plan of
Liquidation Pursuant to Chapter If of the Bankruptcy Code (Doc. 1394) (the “Confirmation
Order”), pursuant to which the Court approved the Pian over Drivetrain’s objection. The Effective
Date of the Plan occurred on March 30, 2018. See Doc. 1397.

16. Among other things, the Plan established the ABBK Trust and appointed the
Trustee as Liquidating Trustee (Plan, Art. TV(A)-(B)). The Plan vested certain powers in the
Trustee, including without limitation, the authority and responsibility to: (a) receive, manage,

invest, supervise, and protect the Liquidating Trust Assets; (b) pay taxes or other obligations

Case 16-10446 Doc#1626 Filed 11/23/20 Page 4 of 19

 
incurred by the ABBK Trust; (c) retain and compensate, without further order of the Bankruptcy
Court, the services of employees, professionals and consultants to advise and assist in the
reasonable administration, prosecution and distribution of Liquidating Trust Assets; (d) calculate
and implement Distributions of Liquidating Trust Assets; (e) investigate, prosecute, compromise,
and settle, in accordance with the specific terms of the Liquidating Trust Agreement, Causes of
Action vested in the ABBK Trust; (f) resolve issues involving Claims and Interests in accordance
with the Plan; and (g) undertake all administrative functions of the Case, including the payment of
fees payable to the United States Trustee and the ultimate closing of the Debtor’s Chapter 11 Case.
See Plan, Art. [V(F)(1).

17. The Plan and Liquidating Trust Agreement provide that the Trustee shall be
discharged and the ABBK Trust shall be terminated, at such time as: (i) all Disputed Claims have
been resolved; (ii) all of the Liquidating Trust Assets have been liquidated; (iii) all duties and
obligations of the Trustee under the Liquidating Trust Agreement have been fulfilled; (iv) all
Distributions required to be made by the ABBK Trust under the Plan and the Liquidating Trust
Agreement have been made; and (v) the Case has been closed. See Plan, Art. [V(K) and
Liquidating Trust Agreement, § 10.1.

18. Drivetrain appealed entry of the Confirmation Order to the United States District
Court for the District of Kansas (the “District Court”), which was assigned District Court Case
Number 6:18-cv-01055 (the “Main Appeal”), On October 10, 2018, the District Court dismissed
the Main Appeal as equitably moot. See Dist. Ct. Case 6:18-cv-01055, Doc. 65. Drivetrain filed
two appeals to the United States Court of Appeals for the Tenth Circuit (the “Tenth Circuit”) from
the dismissal order of the District Court in the Main Appeal and the District Court’s denial of a

stay of the Confirmation Order, which appeals were assigned Tenth Circuit Case Numbers 18-

Case 16-10446 Doc#1626 Filed 11/23/20 Page 5 of 19

 
3120 and 18-3218 (the “Tenth Circuit Appeals”), On May 5, 2020, the Tenth Circuit issued a
decision in the Tenth Circuit Appeals affirming the District Court’s denial of a stay of the
Confirmation Order and dismissal of the Main Appeal as equitably moot. Drivetrain did not seek
rehearing or en banc review by the Tenth Circuit nor did Drivetrain file a petition for certiorari
with the United States Supreme Court, and the time for Drivetrain to seek any such relief expired
as of August 3, 2020.

19. _—_ Drivetrain also appealed certain other orders of this Court to the District Court in
Case Numbers 6;18-cv-1125 and 6:18-cv-1135 (the “Related Appeals”). On October 2, 2020, the
District Court dismissed the Related Appeals with prejudice pursuant to its enforcement of a prior
stipulated order that the Related Appeals would be dismissed if the District Court’s dismissal of
the Main Appeal became a final, non-appealable order. See Dist. Ct. Case No. 6:18-cv-1125, Docs,
19 & 20. The District Court’s order dismissing the Related Appeals became a final, non-appealable
order on October 16, 2020.

20. Following the decision of the Tenth Circuit and the District Court’s dismissal of
the Related Appeals, the Trustee has proceeded to wind up the ABBK Trust, including paying
remaining fees of his professionals and all other outstanding expenses of the ABBK Trust,
arranging for a final distribution of the remaining assets of the ABBK Trust to general unsecured
creditors of the Debtor for a total distribution* to general unsecured creditors of sixty-six percent
(66%), and preparing his final quarterly report pursuant to the terms of the Plan and Liquidating
Trust Agreement, which will be timely filed following the entry of the Final Decree. See
Declaration of Mark Kozel, attached hereto as Exhibit A, at 75. The only duties of the Trustee

that will or may remain are to make certain required tax filings for the ABBK. Trust, close the

 

4 This recovery was paid out over the first interim distribution (60%), the second interim distribution (11.3%)
and the final distribution (4.8%). See Exhibit A at ] 7.

Case 16-10446 Doc#1626 Filed 11/23/20 Page 6 of 19

 
ABBK Trust’s bank account, and potentially attend to any additional distribution or donation of
assets if any of the final distribution checks come back unclaimed as well as any final ministerial
duties, if and as applicable. See Ex. A at 4 6.

BASIS FOR RELIEF REQUESTED

A, The Case Should Be Closed Because the Debtor’s Estate Has Been Fully
Administered.

21. Section 350(a) of the Bankruptcy Code provides that “[a]fter an estate is fully
administered and the court has discharged the trustee, the court shall close the case.” Bankruptcy
Rule 3022, in implementing section 350 of the Bankruptcy Code, further provides that “[a]fter an
estate is fully administered in a chapter 11 reorganization case, the court, on its own motion or on
motion of a party in interest, shall enter a final decree closing the case.”

22, The term “fully administered” is not defined by either the Bankruptcy Code or the
Bankrupicy Rules. The Notes of the Advisory Committee on the 1991 amendments to Bankruptcy
Rule 3022 set forth certain factors that courts should consider when evaluating whether a case has
been fully administered, namely:

(a) whether the order confirming the plan has become final;
(b) whether deposits required by the plan have been distributed;
(c) whether the property proposed by the plan to be transferred has been transferred;

(d) whether the debtor or the successor of the debtor under the plan has assumed the
business or management of the property dealt with by the plan;

(ec) whether payments under the plan have been commenced; and

(f} whether all motions, contested matters, and adversary proceedings have been
finally resolved.

See also In re Union Home & Indus., 375 B.R. 912, 917 (BAP 10th Cir. 2007) (finding that these

factors “are not considered exhaustive, nor must a party demonstrate all of the factors, before the

Case 16-10446 Doc#1626 Filed 11/23/20 Page 7 of 19

 
court may find a case to be fully administered”); LBR 3022.1(b)(1)-(6) (requiring a motion for a
final decree to address the above-mentioned factors).

23. The foregoing factors weigh strongly in favor of closing the Case. The Plan has
been “substantially consummated” in accordance with section 1101 of the Bankruptcy Code. See
Tenth Circuit Case No. 18-3120, Doc. 010110343146 at 15 (finding that substantial consummation
has occurred). The Confirmation Order became a final, non-appealable order on August 3, 2020,
after Drivetrain failed to file a petition for certiorari with the Supreme Court seeking review of the
Tenth Circuit’s decision affirming the District Court’s dismissal of Drivetrain’s appeat from the
Confirmation Order. All other motions, contested matters, and adversary proceedings have now
been resolved by final, non-appealable orders. All deposits and transfers contemplated by the Plan
have been made, all Liquidating Trust Assets have vested in the Trustee and, after payment of the
reasonable incurred and anticipated administrative expenses of the ABBK Trust, the Trustee will
distribute all of the remaining Liquidating Trust Assets in payment of the claims of general
unsecured creditors. See Kozel Decl. at ff] 4-5. Keeping the Case open at this point serves no
meaningful purpose.

24. In addition to the above factors, LBR 3022.1(b)(7) through (9) require a motion for
a final decree to include information concerning “whether all fees due under 28 U.S.C. § 1930 are
paid,” “a summary of professional fees awarded in the case,” and “the percentage paid to unsecured
creditors.” In compliance with those requirements, the Trustee confirms that all fees due and
owing under 28 U.S.C. § 1930 have been paid to date and that the remaining fees that become due
will be paid in accordance with the terms of the proposed order on this Motion, and that the total

percentage” of recovery paid to holders of allowed general unsecured claims will be sixty-six

 

5 This recovery was paid out over the first interim distribution (50%), the second interim distribution (11.3%)
and the final distribution (4.8%). See Exhibit A at 7.

Case 16-10446 Doc#1626 Filed 11/23/20 Page 8 of 19

 
percent (66%). Kozel Decl, at 5. A summary of professional fees and expenses awarded by the

Court through the effective date of the Plan are as follows:

 

 

 

 

 

 

 

 

 

 

 

Professional Total Fees Total Expenses
Ocean Park Advisors, LLC $500,000.00 $33,637.52
DLA Piper LLP (US) $2,365,175.75 $95,512.52
Drinker Biddle & Reath LLP $355,638.25 $4,907.71
Armstrong Teasdale LLP $762,102.50 $96,721.37
Baker & Hostetler LLP $1,898,270.00 $38,653.44
Robert L. Baer $2,655.00 $450.00
Melcap Partners LLC $15,212.50 $0.00

Josh Barker $20,100.00 $0.00

J. Talbot Sant, Jr, $1,561.00 $304.00
Total® $5,920,715.00 $270,186.56

 

 

 

 

 

See Docs. 648, 795, 1564, 1565, 1566, 1577, 1579, 1581, and 1582.

25. Although the Trustee does not interpret LBR 3022.1(b)(8) as requiring a summary
of post-Effective Date professional fees (which do not require Court approval under the terms of
the Plan and Liquidating Trust Agreement), nonetheless, the Trustee discloses that a total of
$3,600,333.31 in professional fees and expenses’ were or will be paid by the ABBK Trust
following the Effective Date, which payments were set forth in further detail in the quarterly post-

confirmation reports previously filed by the Trustee and will be reflected in the next Post-

 

6 A small portion of the fees and expenses awarded by the Court were paid by the ABBK Trust following the

Effective Date of the Plan.

7 This amount includes payments made to KEIP recipients and some pre-Effective Date work paid by the
ABBE Trust.

9

Case 16-10446 Doc#1626 Filed 11/23/20 Page 9 of 19

 
Confirmation Quarterly Operating Report, which will be timely filed following the entry of the
Final Decree. See Docs. 1590, 1608, 1611, 1613, 1616, 1617, 1619, 1620, 1624; see also Exhibit
A at J 7. These amounts include payment to the Trustee, his counsel and his other professionals
for any matters to be handled after the date the Case is closed, including making required tax filings
and attending to any additional distribution or donation of assets if any of the final distribution
checks come back unclaimed. Jd. at { 6.

26. Accordingly, the Trustee respectfully requests this Court close the Case by entering
the Final Decree.

B. The Requirements for Discharging the Trustee and Terminating the ABBK
Trust Have Been Satisfied.

27, As stated above, the Plan and Liquidating Trust Agreement require that the
Liquidating Trustee be discharged and the ABBK Trust be terminated once: (i) all Disputed Claims
have been resolved; (ii) all Liquidating Trust Assets have been liquidated; (iii) the Liquidating
Trustee has fulfilled all of its duties and obligations under the Liquidating Trust Agreement; (iv)
all Distributions required to be made under the Plan and Liquidating Trust Agreement have been
made; and (v) the Case is closed, See Plan, Art. TVGX) and Liquidating Trust Agreement, § 10.1.

28. Most of these requirements will be satisfied once the Court enters the Final Decree.
There are certain administrative tasks that the Trustee will or may need to attend to after the closing
of the Case, including, but not limited to, making certain required tax filings, potentially attending
to any additional distribution or donation of assets if any of the final distribution checks come back
unclaimed, closing the ABBK Trust’s bank account, and any other ministerial duties as may be
required to attend to the closure of the ABBK Trust. See Exhibit A at 6. The Trustee has already

compensated himself, his counsel and his other professionals for costs related to those tasks. Id.

i0

Case 16-10446 Doc#1626 Filed 11/23/20 Page 10 of 19

 
29. Thus, once the Final Decree is entered, the ABBK Trust will need to remain in
existence only to ensure that none of the final distribution checks comes back unclaimed? (in which
case, the Trustee will have to redistribute those funds to the other creditors or, if the amount
unclaimed is de minimus, donate them to charity in accordance with the terms of the Plan), The
termination of the ABBK Trust on March 30, 2021 will provide sufficient time to determine if any
distribution comes back as unclaimed and, if so, to redistribute or donate such unclaimed funds in
accordance with the terms of the Plan.®

30. Accordingly, the Trustee respectfully requests this Court order as part of the Final
Decree that on March 30, 2021, the ABBK Trust shall automatically terminate and the Trustee
shall automatically be discharged."

NOTICE

31. Notice of this Motion has been given to: (a) the Office of the United States Trustee
for the District of Kansas, (b) any party that has requested notice pursuant to Bankruptcy Rule
2002, and (c) the creditors holding the largest 20 unsecured claims. The Trustee submits that under

LBR 3022.1(c), and in light of the nature of the relief requested, no other or further notice need be

given.

 

8 The Trustee may also—but is not required to by the Plan—remail checks to claimants where checks have

been retumed by the USPS as being undeliverable as addressed, and where an updated address can be determined to
facilitate the forwarding of such checks in a timely manner.

9 Under Section 10.1 of the Liquidating Trust Agreement, the ABBK Trust must terminate within three years
from the Plan’s Fifective Date G.e., by March 30, 2021) without further extension approved by the Court.

10 The Trustee has already made provision for the making of certain required tax filings that will be due later
in 2021. The Trustee does not believe the ABBK Trust needs to continue in existence at the time such filings are
made. Nevertheless, out of an abundance of caution, the Trustee has included in the proposed order on this Motion
the express authority for the Trustee to take such actions after the termination of the ABBK Trust (as well as other
ministerial actions related to the wind-up of the ABBK Trust, such as closing the ABBK Trust’s bank account) and
that the ABBK Trust shall continue to exist after termination solely to the extent necessary for the Trustee to take such
actions,

11

Case 16-10446 Doc#1626 Filed 11/23/20 Page 11 of 19

 
NO PRIOR REQUEST
32. No prior request for the relief sought in this Motion has been made to this or any

other court.

WHEREFORE, the Trustee respectfully requests that the Court enter the Final Decree,
substantially in the form of Exhibit B attached hereto, granting the relief requested herein and
such other relief as the Court deems appropriate under the circumstances.

Dated: November 23, 2020 Respectfully submitted,

/sf Bruce J. Woner

Bruce J. Woner, KS #10297
WONER, REEDER & GIRARD, P.A.
5611 SW Barrington Court South
P.O. Box 67689

Topeka, KS 66607-0689

Telephone: (785) 235-5330
Facsimile: (785) 235-1615

Email: woner@wrglaw.com

-and-

Michael A. VanNiel (OH #0073948)
(admitted pro hac vice)
Adam L. Fletcher (OH #0085201)
{admitted pro hac vice)
BAKER & HOSTETLER LLP
Key Tower
127 Public Square, Suite 2000
Cleveland, Ohio 44114-1214
Phone: (216) 621-0200
Facsimile: (216) 696-0740
mvanniel@bakerlaw.com
afletcher@bakerlaw.com

Counsel for Mark D, Kozel, as Liquidating
Trustee for the ABBK Liquidating Trust

12

Case 16-10446 Doc#1626 Filed 11/23/20 Page 12 of 19

 
CERTIFICATE OF SERVICE
I hereby certify that on November 23, 2020, a copy of the foregoing was filed
electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system
to all parties indicated on the electronic filing receipt. All other parties will be served by regular

U.S. mail. Parties may access this filing through the Court’s system.

‘si Bruce J. Woner
Bruce J. Woner

13

Case 16-10446 Doc#1626 Filed 11/23/20 Page 13 of 19

 
UNITED STATES BANIKRUPTCY COURT
FOR THE DISTRICT OF KANSAS

 

Tn re: )
) Chapter 11
ABENGOA BIOENERGY BIOMASS OF )
KANSAS, LLC, ) Case No. 16-10446
)
Debtor. ) Judge Dale L. Somers
)

DECLARATION OF MARK D. KOZEL
I, Mark D, Kozel, declare and state as follows:
1. I am the duly appointed Liquidating Trustee! of the ABBK Liquidating Trust.
2. I have personal knowledge of the facts set forth herein by virtue of my position as
the Liquidating Trustee. |
3, I submit this declaration in support of the Motion of Mark D. Kozel, as Liquidating
Trustee for the ABBK Liquidating Trust, to Close Chapter 11 Case Pursuant to 11 U.S.C, § 350(A)

and Bankruptcy Rule 3022, and to Set Date for the Termination of the Trust and Discharge of the

 

Trustee {the “Motion”), filed contemporaneously herewith.

4, All deposits and transfers contemplated by the Plan have been made and all
Liquidating Trust Assets have vested in me, in my capacity as the Liquidating Trustee.

5. By the time of the hearing on the Motion, I will have wound up the affairs of the
ABBK Liquidating Trust and have fulfilled substantially all duties that the Liquidating Trustee is
charged with under the Pian, the Liquidating Trust Agreement and the Confirmation Order,

including, without limitation:

 

t Capitalized terms used herein but net otherwise defined shall have the meanings ascribed to them in the Plan

of Liquidation Pursuant to Chapter 1! of the Bankruptcy Code (Doc. 811) (the “Plan”) filed in the above-captioned
case,

Case 16-10446 Doc#1626 Filed 11/23/20 Page 14 of 19

 
6.

. paying outstanding fees of professionals retained by the ABBK. Liquidating Trust

and all other outstanding expenses of the ABBK Liquidating Trust;

. paying all fees due and owing under 28 U.S.C. § 1930 and reserving sufficient

additional funds for the payment of any such remaining fees that become due,
which will be promptly paid in accordance with the terms of the proposed order on
the Motion;

distributing the remaining assets of the ABBK Liquidating Trust to general
unsecured creditors of the Debtor for a total distribution to general unsecured
creditors of sixty-six percent (66%), which recovery was paid out over the first
interim distribution (50%), the second interim distribution (11.3%) and the final

distribution (4.8%); and

. preparing the final quarterly post-confirmation report, which will be timely filed

following the entry of the Final Decree.

There are certain tasks that I will or may need to attend to after the closing of the

Case or the termination of the ABBK Trust, such as making certain required tax filings, closing

the ABBK. Trust’s bank account, potentially attending to any additional distribution or donation

of assets if any of the final distribution checks come back unclaimed (the Trustee may also-—but

is not required to by the Plan—remail checks to claimants where checks have been returned by the

USPS as being undeliverable as addressed, and where an updated address can be determined to

facilitate the forwarding of such checks in a timely manner), and any other ministerial duties that

may be necessary. | have already paid or have reserved sufficient funds to pay myself, my counsel,

and my other professionals to attend to all such matters.

Case 16-10446 Doc#1626 Filed 11/23/20 Page 15 of 19

 
7. A total of $3,600,333.31 in professional fees and expenses have been or will be
paid by the ABBK Trust following the Effective Date through the date that the Final Decree is
entered, which amount includes payments made to KEIP recipients and some pre-Effective Date
work paid by the ABBK Trust as detailed in the previously filed quarterly reports.

I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

 

Case 16-10446 Doc#1626 Filed 11/23/20 Page 16 of 19
“Exhibit
“BR”

      

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF KANSAS

In re: )
) Chapter 11
ABENGOA BIOENERGY BIOMASS OF )
KANSAS, LLC, ) Case No. 16-10446
)
Debtor. ) Judge Dale L. Somers
)

FINAL DECREE CLOSING CHAPTER 11 CASE PURSUANT TO 11 U.S.C, § 350(A)
AND BANKRUPTCY RULE 3022, AND SETTING DATE FOR THE TERMINATION
OF THE TRUST AND DISCHARGE OF THE TRUSTEE

Upon the motion (the “Motion”)' of Mark D. Kozel, as Liquidating Trustee (the “Trustee”)
for the ABBK Liquidating Trust (the “ABBK Trust’), for entry of a final decree (this “Final
Decree”) closing the Case, setting a date for the termination of the ABBK Trust and discharge of
the Trustee, and granting related relief, all as more fully set forth in the Motion; and it appearing
that the relief requested is in the best interests of the Debtor’s estates, its creditors, and other parties
in interest; and the Court having jurisdiction to consider the Motion and the relief requested therein
pursuant to 28 U.S.C, §§ 157 and 1334; and consideration of the Motion and the relief requested
therein being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before
this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and notice of the Motion having been adequate
and appropriate under the circumstances; and having found that the Trustee has fulfilled, or made
sufficient provision for the fulfillment, of all of his duties and obligations as Trustee; and after due
deliberation and sufficient cause appearing therefor,

IT IS HEREBY ORDERED THAT:

1, The Motion is granted.

2. The Case is hereby closed.

 

' Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to them in the Motion.

Case 16-10446 Doc#1626 Filed 11/23/20 Page 17 of 19

 
3. The ABBK Trust shall automatically terminate and the Trustee shall automatically
be discharged effective March 30, 2021 (the “Termination Date”); provided, however, that the
Trustee shall have the authority to take such further actions after the Termination Date as he deems
reasonably necessary to wind up the affairs of the ABBK Trust, including, without limitation, to
comply with all tax reporting obligations of the ABBK Trust (such as the filing of any tax returns
or other required documents or information with any taxing authority, and providing any required
documents or information to beneficiaries of the ABBK Trust) and to close the bank account of
the ABBK Trust, and the ABBK Trust shall be deemed to continue to exist after the Termination
Date solely to the extent necessary for the Trustee to take such actions.

4, Entry of this Final Decree is without prejudice to the rights of the Debtor, the ABBK
Trust, the Trustee, or any other party in interest to: (a) seek to reopen the Case for good cause
shown tn accordance with section 350(b) of the Bankruptcy Code; (b) to seek to extend the duration
of the ABBK Trust beyond the Termination Date so long as such request to extend the duration of
the ABBK Trust is made before the occurrence of the Termination Date; or (c) to seek to reopen
the ABBK Trust after the Termination Date if the Case is subsequently reopened pursuant to
section 350(b) of the Bankruptcy Code,

5. This Court will retain jurisdiction to enforce or interpret its own orders pertaining
to this Case.

6. For the purposes of calculating quarterly fees payable to the Office of the United
States Trustee for the District of Kansas in accordance with 28 U.S.C. § 1930(a)(6), all
disbursements made in the fourth quarter of 2020 will be included in the calculation, and the

Trustee shall pay these amounts promptly.

Case 16-10446 Doc#1626 Filed 11/23/20 Page 18 of 19

 
7. The Trustee is authorized to take all actions necessary to effectuate the relief

granted pursuant to this Final Decree in accordance with the Motion.

Dated:

 

UNITED STATES BANKRUPTCY JUDGE
Submitted by:

‘s! Bruce J, Woner

Bruce J. Woner, KS #10297
WONER, REEDER & GIRARD, P.A.
5611 SW Barrington Court South
P.O. Box 67689

Topeka, KS 66607-0689

Telephone: (785) 235-5330
Facsimile; (785) 235-1615

Email: woner@wrglaw.com

-and-

Michael A. VanNiel (OH #0073948)
(admitted pre hae vice)
Adam L. Fletcher (OH #0085201)
(admitted pro hac vice)
BAKER & HOSTETLER LLP
Key Tower
127 Public Square, Suite 2000
Cleveland, Ohio 44114-1214
Phone: (216) 621-0200
Facsimile: (216) 696-0740
mvanniel@bakerlaw.com
afletcher@bakerlaw.com

Counsel for Mark D, Kozel, as Liquidating Trustee for the ABBK Liquidating Trust

Case 16-10446 Doc#1626 Filed 11/23/20 Page 19 of 19

 
